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 1                                                                      The Honorable Robert S. Lasnik

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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
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 8     SUSAN SOTO PALMER, et al.,
 9                    Plaintiffs,                            Case No. 3:22-cv-05035-RSL
10
               v.                                           STIPULATION OF VOLUNTARY
11                                                          DISMISSAL UNDER FRCP
       STEVEN HOBBS, in his official capacity               41(a)(1)(A)(ii)
12     as Secretary of State of Washington, and
       the STATE OF WASHINGTON,
13

14
                      Defendants,
15
               and
16
       JOSE TREVINO, ISMAEL G. CAMPOS,
17
       and State Representative, ALEX YBARRA,
18
                      Intervenor-Defendants.
19

20          Plaintiff Southcentral Coalition of People of Color for Redistricting voluntarily dismisses

21   its claims against Defendants Hobbs et al., under Federal Rule of Civil Procedure 41(a)(1)(A). The
22   parties herby stipulate that its claims be dismissed. Pursuant to Federal Rule of Civil Procedure
23
     41(a)(1)(A)(ii), a plaintiff may voluntarily dismiss their claims without a court order.
24
     Dated this 2nd day of December, 2022.
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     STIPULATION OF VOLUNTARY                         1
     DISMISSAL UNDER FRCP 41(a)(1)(A)(ii)
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 1                                              Respectfully submitted,

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18
                                                     *Admitted Pro Hac Vice
19                                                   ** Pro Hac Vice Application
20                                                   Forthcoming
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     STIPULATION OF VOLUNTARY                   3
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 1                                 CERTIFICATE OF SERVICE

 2          I certify that all counsel of record were served a copy of the foregoing this 2nd day of
 3   December, 2022 via the Court’s CM/ECF system.
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     STIPULATION OF VOLUNTARY                      4
     DISMISSAL UNDER FRCP 41(a)(1)(A)(ii)
